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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT COURT OF MARYLAND


 LESTER LEE
                                                   Case No. 8:24-cv-01205-TJS
       Plaintiff,

 vs.
                                                   MOTION TO STRIKE DEFENDANTS’
 BROOKSIDE PARK CONDOMINIUM,                       SECOND AND FOURTH
 INC. METROPOLIS (aka MCM, INC.),                  AFFIRMATIVE DEFENSES TO
 RAMMY AZOULAY, AND CHARLES                        PLAINTIFF’S COMPLAINT (DOC. 24)
 LAMONT SAVOY

                    Defendants.



        COMES NOW, Plaintiff LESTER LEE, by and through undersigned counsel, and hereby

moves this Court to strike, pursuant to Fed. R. Civ. P. R. 12(f), Defendants’ BROOKSIDE PARK

CONDOMINIUM, INC., METROPOLIS (aka MCM, INC.), and RAMMY AZOULAY’s second

and fourth Affirmative Defenses contained in their Complaint (Doc. 24), which are as follows:

(1) “Plaintiff’s claim is barred by illegality because Prince George’s County ordinances prohibit

the ownership of pit bulls.” (Doc. 24, p. 5, para. 2 of Affirmative Defenses); and (2) “Plaintiff’s

claim is barred by failure to meet a condition precedent.” (Id. at para. 4). A Memorandum of

Law is attached hereto and incorporated herein.

                                                        Respectfully Submitted,


                                                        /s/ Richard Rosenthal
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                                     MEMORANDUM OF LAW

I.      Introduction

        Defendants Brookside Park Condominium, Inc., Metropolis, and Rammy Azoulay

answered Plaintiff Lester Lee’s Complaint on May 15, 2024 (Doc. 16) and June 7, 2024 (Doc.

24). The Complaints are identical. The second and fourth affirmative defenses of the Complaint

should be struck because they fail to give “fair notice.” The affirmative defenses which are

being challenged herein are : (1) “Plaintiff’s claim is barred by illegality because Prince George’s

County ordinances prohibit the ownership of pit bulls.” (Doc. 24, p. 5, para. 2 of Affirmative

Defenses); and (2) “Plaintiff’s claim is barred by failure to meet a condition precedent.” (Id. at

para. 4).


II.     Legal Standard

        An affirmative defense may be struck if the pleadings do not meet the requirements of

Rules 8 and 9. The purpose of Fed R. Civ. P. 8(c) is to ensure that a plaintiff will have fair notice

of any issues outside of the pleadings that may be raised at trial. See Odyssey Imaging, LLC v.

Cardiology Assocs. of Johnston, LLC, 752 F. Supp. 2d 721, 726 (W.D. Va. 2010) (citing Hewitt v.

Mobile Res. Tech., Inc., 285 F. App'x 694, 696 (11th Cir. 2008) (per curiam)). An affirmative

defense is defined by the Fourth Circuit as,

                ‘the defendant's assertion raising new facts and arguments that, if
                true, will defeat the plaintiff's . . . claim, even if all allegations in the
                complaint are true. Generally speaking, affirmative defenses share
                the common characteristic of a bar to the right of recovery even if
                the general complaint were more or less admitted to.’

Bryant Real Estate, Inc. v. Toll Bros., 106 Fed. Appx. 182, 185-186 (4th Cir. 2004) (internal

citations omitted). “An affirmative defense may be plead in general terms and will be held to be

sufficient ... as long as it gives plaintiff fair notice of the nature of the defense.” Clem v.


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Corbeau, 98 F. App'x 197, 203 (4th Cir. 2004) (quoting 5 Charles Allan Wright & Arthur R.

Miller, Federal Practice & Procedure § 1274, at 455-56 (2d ed. 1990)). “[B]y any standard

affirmative defenses must be set forth only in sufficient detail to give fair notice and thereby

prevent surprise.” See Palmer v. Oakland Farms, Inc., Unreported No. 5:10cv00029, 2010 U.S.

Dist. LEXIS 63265, *1375 (DNJ, 2009) (citing United States ex rel. Monahan v. Robert Wood

Johnson Univ Hosp. At Hamilton, 75 Fed. R. Serv.3d 281 (DNJ, 2009)).


III.   Second Affirmative Defense

       Defendants’ second affirmative defense is that “Plaintiff’s claim is barred by illegality

because Prince George’s County ordinances prohibit the ownership of pit bulls.” (Doc. 24, p. 5,

para. 2 of Affirmative Defenses). This defense fails to give Plaintiff fair notice as required by

Fed R. Civ. P. 8(c).

       In Warren v. Delvista Towers Condo. Ass’n, Unreported No. 13-23074-CIV, 2014 U.S.

Dist. LEXIS 206107, *16 (S.D. Fl. June 30, 2014), the defendants plead the following

affirmative defense: “Plaintiff's request to allow his dog to stay in Delvista is in direct violation

of county law.”. Id. (internal citation and quotation marks omitted). That court struck this

affirmative defense because the defendants did “not adequately identify the county ordinance

Plaintiff allegedly violated by keeping [his dog]”, and thus this affirmative defense failed to give

the plaintiffs “fair notice’ of the claim and the grounds upon which it rests. Id. at *17.

       Defendants in the above captioned case, likewise, do not adequately identify the county

ordinance Plaintiff allegedly violates by keeping his dogs. Although this affirmative defense sets

forth the existence of “Prince George’s County ordinances”, it fails to give “fair notice” of the

claim and grounds upon which it rests. If the Defendants had set forth the specific county

ordinance it is referring to, this would have sufficed for “fair notice.”


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IV.    Fourth Affirmative Defense

       Defendants’ fourth affirmative defense states that “Plaintiff’s claim is barred by failure to

meet a condition precedent.”((Doc. 24, p. 5, para. 4 of Affirmative Defenses). As explained in

the following case, “[a] general denial that conditions precedent have occurred or been

performed is insufficient because it does not comport with the particularity requirement of Rule

9(c).” United States EEOC v. Route 22 Sports Bar, Inc., unreported No. 5:21-CV-7, 2021 U.S.

Dist. LEXIS 115532, *22-23 (N.D.W. Va., June 20, 2021); see also Id. (citing EEOC v. Serv.

Temps Inc., 679 F.3d 323, 332 n.14 (5th Cir. 2012) (“‘Smith included in its answer only a general

denial that all conditions precedent had been satisfied, which is insufficient under Fed. R. Civ. P.

9(c).’”); EEOC v. United Parcel Serv., 2017 U.S. Dist. LEXIS 101564, 2017 WL 2829513, at

*14 (E.D. N.Y. June 29, 2017) (“striking affirmative defense that ‘badly assert[s] that the EEOC

has failed to satisfy its pre-suit requirements without providing additional factual allegations’”).

       Because this affirmative defense fails to provide any factual allegations as to, for example

what the condition precedent is, it fails to give “fair notice” to Plaintiffs, and thus must be struck.


V.     Conclusion

       Plaintiff Lester Lee requests this Honorable Court strike Defendants’ second and fourth

affirmative defenses.

                                                         Respectfully Submitted,


                                                         /s/ Richard Rosenthal
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of July 2024, copies of the foregoing Motion to

Strike was served upon Defendants by operation of the Federal Court’s ECF system.

                                                      /s/ Richard Rosenthal
                                                      RICHARD BRUCE ROSENTHAL




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